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      SO. CAL. EQUAL ACCESS GROUP
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 5
      Attorneys for Plaintiff
 6    OMAR LUNA
 7
                                 UNITED STATES DISTRICT COURT
 8
                                CENTRAL DISTRICT OF CALIFORNIA
 9
10    OMAR LUNA,                                        Case No.: 2:21-cv-02284 ODW (JDEx)
11
                   Plaintiff,
12                                                      NOTICE OF VOLUNTARY
            vs.                                         DISMISSAL OF ENTIRE ACTION
13                                                      WITH PREJUDICE
14    IDAROSE CORPORATION, LTD.; and
      DOES 1 to 10,
15
16                 Defendants.
17
18
            PLEASE TAKE NOTICE that OMAR LUNA
19
       (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby
20
      voluntarily dismisses the entire action with prejudice pursuant to Federal Rule of Civil
21
      Procedure Rule 41(a)(1) which provides in relevant part:
22
            (a) Voluntary Dismissal.
23
                   (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
24
25
                          and any applicable federal statute, the plaintiff may dismiss an action

26                        without a court order by filing:
27                        (i)     A notice of dismissal before the opposing party serves either an
28                                answer or a motion for summary judgment.

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           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
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 1    None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 2    summary judgment. Accordingly, this matter may be dismissed without an Order of the
 3    Court.
 4
 5    DATED: August 12, 2021                SO. CAL. EQUAL ACCESS GROUP
 6
 7                                   By:      /s/ Jason J. Kim
 8                                         Jason J. Kim, Esq.
                                           Attorneys for Plaintiff
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           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
